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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF ILLINOIS

  MICHAEL E. BEATTY, M.D., d/b/a THE                  )
  SOUTHWESTERN ILLINOIS PLASTIC &                     )
  HAND SURGERY ASSOCIATES, individually               )
  and as the Representative of a class of similarly   )
  situated persons,                                   )
                                                      )
                 Plaintiff,                           )
                                                      )      Case No. 3:17-cv-01001-NJR-DGW
  v.                                                  )
                                                      )
  ACCIDENT FUND GENERAL INSURANCE                     )
  COMPANY, et al.,                                    )
                                                      )
                 Defendants.                          )


                      DEFENDANTS' JOINT NOTICE OF NEW
                    AUTHORITY IN SUPPORT OF THE OMNIBUS
                MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM

         Defendants, through their undersigned attorneys, submit the following New Authority in

  Support of Their Omnibus Motion to Dismiss (Dkt. No. 223):

         1.      On April 26, 2018, after the oral argument on Defendants’ Joint Motion to

  Dismiss for failure to state a claim, the Illinois Appellate Court published its opinion in Medicos

  Pain and Surgical Specialists, S.C. v. Travelers Indemnity Company of America, 2018 IL App

  (1st) 162591, ¶19 (April 26, 2018), applying the holding in Marque Medicos Fullerton, LLC v.

  Zurich Am. Ins. Co., 83 N.E.3d 1027 (Ill. App. Ct. 2017), to affirm a dismissal with prejudice of

  a common law promissory estoppel claim where, as here the gravamen of the action was to

  recover statutory interest under Section 8.2(d) of the Illinois Workers’ Compensation Act.

  Attached herein as Exhibit 1 is a copy of the opinion in Medicos Pain and Surgical Specialists.

         2.      The Medicos Pain and Surgical Specialists opinion provides additional support

  for the arguments in support of Defendants’ Joint Motion to Dismiss Plaintiff’s Class Action

  Complaint as set forth in Sections I.B. (The Outcome of the Recent Medicos Litigation Confirms
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  Defendants’ Interpretation of IWCA Section 8.2(d)), III.A. (Beatty’s Inability to State a Claim

  Against the Defendants Under the IWCA Requires Dismissal of His ICFA Claim) and III.C.

  (“The Federal Courts Are Not a Forum for the Recognition of Novel State Law Claims”) of the

  Memorandum of Law in Support of Defendants’ Joint Motion to Dismiss Plaintiff’s Class Action

  Complaint (Dkt. 224).

         WHEREFORE, Defendants respectfully request that this Honorable Court consider this

  supplemental authority in support of the pending Defendants’ Joint Motion to Dismiss Plaintiff’s

  Class Action Complaint, and for such further relief as the Court deems just and proper.

  Dated: May 1, 2018




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  Respectfully submitted,

  HINSHAW & CULBERTSON LLP                    ALSTON & BIRD LLP

  By: /s/ Richard B. Polony                   By: /s/ Adam J. Kaiserz (with consent)
  151 North Franklin, Suite 2500              90 Park Avenue, 15th Floor
  Chicago, IL 60606                           New York, NY 10016
  rpolony@hinshawlaw.com                      adam.kaiser@alston.com

  Counsel for Broadspire Services, Inc.       Shane Blackstone
  and Gallagher Bassett Services, Inc.        WINSTON & STRAWN LLP
                                              35 West Wacker Drive
                                              Chicago, IL 60601
                                              sblackstone@winston.com

                                              Counsel for Commerce and Industry Insurance
                                              Company, Illinois National Insurance Co., The
                                              Insurance Company of the State of
                                              Pennsylvania, and New Hampshire Insurance
                                              Company

  ELENIUS FROST & WALSH                       BROWN & JAMES

  By: /s/ Daniel M. Hinkle (with consent)     By: /s/ Denise Baker-Seal (with consent)
  333 South Wabash Avenue, 25th Floor         525 W. Main Street, Suite 200
  Chicago, IL 60604                           Belleville, IL 62220
  daniel.hinkle@cna.com                       dbaker-seal@bjpc.com

  Counsel for American Casualty Company of Counsel for Tristar Insurance Group, Inc.
  Reading, Pennsylvania and Continental
  Casualty Company (improperly named in the
  Complaint as “Continental Casualty Company,
  Inc.”)




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  DENTONS US LLP                               DENTONS US LLP

  By: /s/ Steven M. Levy (with consent)        By: /s/ Sarah Carlson (with consent)
  233 South Wacker Drive, Suite 5900           One Metropolitan Square
  Chicago, IL 60606                            211 North Broadway, Suite 3000
  steven.levy@dentons.com                      St. Louis, MO 63102
                                               sarah.carlson@dentons.com
  Counsel for Hartford Accident & Indemnity
  Company, Hartford Casualty Insurance Counsel for Sentry Casualty Company
  Company, Hartford Fire Insurance Company,
  Inc., Hartford Insurance Company of Illinois,
  Hartford Insurance Company of the Midwest,
  and    Hartford     Underwriters  Insurance
  Company

  GREENSFELDER, HEMKER & GALE, P.C.            GREENSFELDER, HEMKER & GALE, P.C.

  By: /s/ Abby L. Risner (with consent)        By: /s/ John C. Drake (with consent)
  10 South Broadway, Suite 2000                10 South Broadway Street, Suite 2000
  St. Louis, MO 63102                          St. Louis, MO 63102
  alr@greensfelder.com                         rld@greensfelder.com

  Counsel for Old Republic Insurance Company   Counsel for Cochran Management Services,
  And PMA Companies                            Inc.

  DLA PIPER LLP (US)                           HINSHAW & CULBERTSON LLP

  By: /s/ Joseph A. Roselius (with consent)    By: /s/ Mark D. Bauman
  444 West Lake Street, Suite 900              521 West Main Street, Suite 300
  Chicago, IL 60606                            Belleville, IL 62222
  joseph.roselius@dlapiper.com                 mbauman@hinshawlaw.com

  Counsel for Constitution State Services, LLC Counsel for Chubb indemnity Insurance
  and Travelers Property Casualty Company of Company, Indemnity Insurance Company of
  America (improperly named in the Complaint North America, and ESIS, Inc.
  as “Travelers Property & Casualty Company
  of America”)




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  HINKHOUSE WILLIAMS WALSH LLP                 BUTLER SNOW LLP

  By: /s/ David M. Dolendi (with consent)      By: /s/ Joseph F. Welborn III (with consent)
  180 North Stetson, Suite 3400                The Pinnacle at Symphony Place
  Chicago, IL 60601                            150 Third Avenue South, Suite 1600
  ddolendi@hww-law.com                         Nashville, TN 37102
                                               joe.welborn@butlersnow.snow
  Counsel for Sedgwick Claims Management
  Services                                     Counsel for Country Mutual Insurance
                                               Company

  DYKEMA GOSSETT PLLC                          FREEBORN & PETERS LLP

  By: /s/ Lori A. McAllister (with consent)    By: /s/ Robert M. Baratta Jr. (with consent)
  201 Townsend Street, Suite 900               311 South Wacker Drive, Suite 3000
  Lansing, MI 48933                            Chicago, IL 60606
  lmcallister@dykema.com                       bbaratta@freeborn.com

  Counsel for Amerisure Mutual Insurance       Counsel for American Zurich Insurance
  Company and Auto Owners Insurance            Company and Zurich American Insurance
  Company                                      Company

  JOHNSON & BELL, LTD.                         BAKER & HOSTETLER LLP

  By: /s/ Glenn F. Fencl (with consent)        By: /s/ Rodger L. Eckelberry (with consent)
  33 West Monroe Street, Suite 2700            200 Civic Center Drive, Suite 1200
  Chicago, IL 60603                            Columbus, OH 43215
  fenclg@jbltd.com                             reckelberry@bakerlaw.com

  Counsel for Acuity, A Mutual Insurance       Counsel for The First Liberty Insurance
  Company                                      Corporation and Liberty Mutual Insurance
                                               Company

  CLYDE & CO US LLP                            COZEN O’CONNOR P.C.

  By: /s/ David Cutter (with consent)          By: /s/ Wendy N. Enerson (with consent)
  55 West Monroe Street, Suite 3000            123 North Wacker Drive, Suite 1800
  Chicago, IL 60603                            Chicago, IL 60606
  david.cutter@clydeco.us                      wenerson@cozen.com

  Counsel for General Casualty Company of      Counsel for Berkshire Hathaway Homestate
  Wisconsin and QBE Insurance Corporation      Insurance Company
  (improperly named in the Complaint as "QBE
  Insurance Company")



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  TRIBLER ORPETT & MEYER P.C.                    SANDBERG PHOENIX & VON GONTARD P.C.

  By: /s/ Mitchell A. Orpett (with consent)      By: /s/ John Sandberg (with consent)
  225 West Washington Street, Suite 2550         600 Washington Avenue, 15th Floor
  Chicago, IL 60606                              St. Louis, MO 63101
  maorpett@tribler.com                           jsandberg@sandbergphoenix.com

  Counsel for Creative Risk Solutions, LLC and   Counsel for Accident Fund General Insurance
  Fireman’s Fund Insurance Company               Company, Accident Fund Insurance Company
                                                 of America, and Accident Fund National
                                                 Insurance Company

  LEWIS BRISBOIS BISGAARD & SMITH LLP            GOLDBERG SEGALLA, LLP

  By: /s/ Beth Ann Berger (with consent)         By: /s/ John M. Allen (with consent)
  550 West Adams Street, Suite 300               8000 Maryland Avenue, Suite 640
  Chicago, IL 60661                              St. Louis, MO 63105
  bethann.berger@lewisbrisbois.com               jallen@goldbergsegalla.com

  Counsel for Federated Mutual Insurance         Counsel for Synergy Insurance Company
  Company

  BLACK, BALLARD, MCDONALD, P.C.

  By: /s/ Jerome E. McDonald (with consent)
  108 South Ninth Street
  P.O. Box 4007
  Mt. Vernon, IL 62864
  jmcdonald@illinoisfirm.com

  Counsel for Pekin Insurance Company




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on May 1, 2018, I electronically filed the foregoing Defendants'
  Joint Notice of New Authority in Support of the Omnibus Motion to Dismiss for Failure to
  State a Claim with the Clerk of the U.S. District Court, Southern District of Illinois, using the
  CM/ECF system reflecting service of same on all counsel of record.


                                                     By: /s/ Richard B. Polony




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